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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Case No. 1:14-cv-02887-JLK-MEH

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA, and
DEMETRIO VALERGA,
on their own and on behalf of all others similarly situated,

         Plaintiffs,

v.

THE GEO GROUP, INC.,

         Defendant.


  DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE
 GEO GROUP, INC.’S RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
     SUMMARY JUDGMENT ON DEFENDANT’S AFFIRMATIVE DEFENSE


         I, Adrienne Scheffey, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

         1.      I am an attorney for defendant The GEO Group, Inc. (“Defendant” or “GEO”) in

the above-captioned matter. I am over the age of eighteen (18), and I am competent to testify in

this matter. I have personal knowledge of the facts set forth below.

         2.      I submit this Declaration in support of GEO's response in opposition to Plaintiffs'

Motion for Summary Judgment on Defendant's Affirmative Defense.


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         3.    Attached is an index of attached exhibits as required by this Court’s practice

standards. The exhibits are also outlined below.

         4.    Attached as Exhibit A to GEOs response is a true and correct copy of GEO's

responses to Plaintiffs' Separate Statement of Undisputed Facts.

         5.    Attached as Exhibit B is a true and correct copy of the Declaration of Tae D.

Johnson in Support of Preliminary and Permanent Injunction filed February 5, 2020 in the case

styled United States of America v. Gavin Newsom, et al., United States District Court, Southern

District of California, case number 3:20-cv-00154-JLS-WVG.

         6.    Attached as Exhibit C is a true and correct copy of the Amendment of

Solicitation/Modification of Contract, effective April 28, 2010.

         7.    Attached as Exhibit D is a true and correct copy of the Amendment of

Solicitation/Modification of Contract, effective May 23, 2013.

         8.    Attached as Exhibit E is a true and correct copy of the 2005 Detainee Handbook,

filed with this Court as Level 1 Restricted.

         9.    Attached as Exhibit F is a true and correct copy of 2007 Detainee Handbook filed

with this Court as Level 1 Restricted.

         10.   Attached as Exhibit G is a true and correct copy of 2008 Detainee Handbook filed

with this Court as Level 1 Restricted.

         11.   Attached as Exhibit H is a true and correct copy of 2010 Detainee Handbook filed

with this Court as Level 1 Restricted.

         12.   Attached as Exhibit I is a true and correct copy of 2011 Detainee Handbook filed

with this Court as Level 1 Restricted.



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         13.   Attached as Exhibit J are true and correct copies of excerpts of J. Kevin Martin's

deposition transcript dated November 19, 2019, relevant to, and cited in GEO's response in

opposition to Plaintiffs' Motion for Summary Judgment on Defendant's Affirmative Defense.

         14.   Attached as Exhibit K are true and correct copies of excerpts of Amber Martin's

deposition transcript dated October 9, 2019, relevant to, and cited in GEO's response in opposition

to Plaintiffs' Motion for Summary Judgment on Defendant's Affirmative Defense.

         15.   Attached as Exhibit L are true and correct copies of excerpts from GEO’s yearly

audits, filed with this Court as Level 1 Restricted.

         16.   Attached as Exhibit M are true and correct copies of excerpts of Demetrio

Valerga's deposition transcript dated October 27, 2017.

         17.   Attached as Exhibit N are a true and correct copy of excerpts from Plaintiffs'

Responses to GEO's Sixth Set of Interrogatories and First Set of Requests for Admission.

         18.   Attached as Exhibit O are true and correct copies of excerpts from Plaintiffs'

Responses to GEO's Second Set of Interrogatories, Plaintiff Alejandro Menocal's Supplemental

Responses to GEO's Sixth Set of Interrogatories verified May 25, 2020, Plaintiff Grisel

Xahuentitla's Supplemental Responses to GEO's Sixth Set of Interrogatories verified May 29,

2020, and Plaintiff Lourdes Argueta's Supplemental Responses to GEO's Sixth Set of

Interrogatories verified May 25, 2020.

         19.   Attached as Exhibit P are true and correct copies of excerpts of PBNDS 2011,

Section 2.13 regarding staff-detainee communication.




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         20.    Attached as Exhibit Q are true and correct copies of excerpts of Daniel Ragsdale's

deposition transcript dated February 27, 2020, relevant to, and cited in GEO's response in

opposition to Plaintiffs' Motion for Summary Judgment on Defendant's Affirmative Defense.

         21.    Attached as Exhibit R are true and correct copies of excerpts of Grisel Xahuentitla's

deposition transcript dated October 26, 2017, relevant to, and cited in GEO's response in opposition

to Plaintiffs' Motion for Summary Judgment on Defendant's Affirmative Defense.

         Executed this 5th day of June, 2020, in Denver, Colorado.

                                                  s/ Adrienne Scheffey
                                                  Adrienne Scheffey




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                                  CERTIFICATE OF SERVICE

          I hereby certify on this 5th day of June, 2020, a true and correct copy of the foregoing

 DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE GEO

 GROUP, INC’S RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR

 SUMMARY JUDGMENT ON DEFENDANT’S AFFIRMATIVE DEFENSE was filed and

 served electronically via the Court’s CM/ECF system on the following:

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                                                     s/ Nick Mangels
                                                     Nick Mangels



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DAGOBERTO VIZGUERRA, and
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on their own and on behalf of all others similarly situated,

         Plaintiffs,

v.

THE GEO GROUP, INC.,

         Defendant.


INDEX OF EXHIBITS TO DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT
   OF DEFENDANT THE GEO GROUP, INC.’S RESPONSE IN OPPOSITION TO
    PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT ON DEFENDANT’S
                       AFFIRMATIVE DEFENSE



 Exhibit                                        Description

     A       GEO's Responses to Plaintiffs' Separate Statement of Undisputed Facts
             Declaration of Tae D. Johnson in United States of America v. Gavin Newsom, et al.,
     B       United States District Court, Southern District of California, case number 3:20-cv-
             00154-JLS-WVG
     C       Amendment of Solicitation/Modification of Contract effective April 28, 2010

     D       Amendment of Solicitation/Modification of Contract effective May 23, 2013




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 Exhibit                                        Description

     E       2005 Detainee Handbook - Filed with this Court as Level 1 Restricted

     F       2007 Detainee Handbook - Filed with this Court as Level 1 Restricted

     G       2008 Detainee Handbook - Filed with this Court as Level 1 Restricted

     H       2010 Detainee Handbook - Filed with this Court as Level 1 Restricted

     I       2011 Detainee Handbook - Filed with this Court as Level 1 Restricted

     J       Excerpts of J. Kevin Martin's Deposition Transcript dated November 19, 2019

     K       Excerpts of Amber Martin's Deposition Transcript dated October 9, 2019

     L       GEO’s Yearly Audits - Filed with this Court as Level 1 Restricted

     M       Excerpts of Demetrio Valerga's Deposition Transcript dated October 27, 2017
             Excerpts from Plaintiffs' Responses to GEO's Sixth Set of Interrogatories and First
     N
             Set of Requests for Admission
             Excerpts from Plaintiffs' Responses and Supplemental Responses to GEO's Second
     O
             Set of Interrogatories
     P       Excerpts of PBNDS 2011, Section 2.13

     Q       Excerpts of Daniel Ragsdale's Deposition Transcript dated February 27, 2020

     R       Excerpts of Grisel Xahuentitla's Deposition Transcript dated October 26, 2017




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